                          Case 8-22-08016-ast                  Doc 2         Filed 03/31/22      Entered 03/31/22 11:19:23
104 (Form 104 ) (               )
                    ADVERSARY PROCEEDING COVER SHEET                                                        ADVERSARY PROCEEDING NO.
                                      (Instructions on Reverse)
PLAINTIFF(S)                                                                       DEFENDANT(S)



ATTORNEY(S) (Firm Name, Address, Telephone No.)                                    ATTORNEY(S) (If Known)




PARTY (Check One Box Only)                                PARTY (Check One Box Only)
    Debtor          U.S. Trustee                                 Debtor              U.S. Trustee
    Creditor         Trustee           Other                     Creditor            Trustee                                               Other
CAUSE OF ACTION (Write a brief statement of cause of action, including all U.S. statutes involved.)




                                                                        NATURE OF SUIT
      (Number up to 5 boxes with the lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


FRBP 7001(1)  Recovery of Money/Property                                          FRBP 7001(6)  Dischargeability (continued)
  11  Recovery of money/property § 542 turnover of property                         61  Dischargeability § 523(a)(5), domestic support
  12  Recovery of money/property § 547 preference                                   68  Dischargeability § 523(a)(6), willful and malicious injury
  13  Recovery of money/property § 548 fraudulent transfer                          63  Dischargeability § 523(a)(8), student loan
  14  Recovery of money/property  other                                            64  Dischargeability § 523 (a)(15), divorce or separation obligation
                                                                                              (other than domestic support)
FRBP 7001(2)  Validity, Priority or Extent of Lien                                  65  Dischargeability  other
   21  Validity, priority or extent of lien or other interest in property
                                                                                   FRBP 7001(7)  Injunctive Relief
FRBP 7001(3)  Approval of Sale of Property                                          71  Injunctive relief  imposition of stay
   31  Approval of sale of property of estate and of a co owner § 363(h)            72  Injunctive relief  other

FRBP 7001(4)  Objection/Revocation of Discharge                                   FRBP 7001(8)  Subordination of Claim or Interest
  41  Objection/revocation of discharge § 727(c), (d), (e)                          81 Subordination of claim or interest

FRBP 7001(5)  Revocation of Confirmation                                          FRBP 7001(9)  Declaratory Judgment
  51  Revocation of confirmation                                                    91  Declaratory judgment

FRBP 7001(6)  Dischargeability                                                    FRBP 7001(10)  Determination of Removed Action
  66  Dischargeability § 523(a)(1), (14), (14A) priority tax claims                 01  Determination of removed claim or cause
  62  Dischargeability § 523(a)(2), false pretenses, false representation,
          actual fraud                                                             Other
  67  Dischargeability § 523(a)(4), fraud as fiduciary, embezzlement,               SS SIPA Case  15 U.S.C. §§ 78aaa et seq.
          larceny                                                                    02  Other (e.g.,other actions that would have been brought in state court
  (continued next column)                                                                    if unrelated to bankruptcy case)
   Check if this case involves a substantive issue of state law                      Check if this is asserted to be a class action under FRCP 23
   Check if a jury trial is demanded in complaint                                  Demand: $

Other Relief Sought:
                    Case 8-22-08016-ast       Doc 2    Filed 03/31/22      Entered 03/31/22 11:19:23
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                         BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                                 BANKRUPTCY CASE NO.


DISTRICT IN WHICH CASE IS PENDING                              DIVISION OFFICE                 NAME OF JUDGE


                                       RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                     DEFENDANT                                    ADVERSARY PROCEEDING NO.


DISTRICT IN WHICH ADVERSARY PROCEEDING IS PENDING              DIVISION OFFICE             NAME OF JUDGE


SIGNATURE OF ATTORNEY (OR PLAINTIFF)                           PRINT NAME OF ATTORNEY (OR PLAINTIFF)



DATE




                                                      INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of
the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtors discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

A party filing an adversary proceeding must also complete and file Form 104, the Adversary Proceeding Cover
Sheet. When completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of
court needs the information to process the adversary proceeding and prepare required statistical reports on court
activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or
other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self
explanatory, must be completed by the plaintiffs attorney (or by the plaintiff, if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
by an attorney, the plaintiff must sign.
